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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 DIANA CAMPUZANO, et al.,

                         Plaintiffs,

                v.                               Case No. 19-cv-00421 (RDM)

 JOSHUA M. AMBUSH,
 Hilton Plaza
 1726 Reisterstown Road, Suite 206
 Baltimore, Maryland 21208

                        Defendant.


        DEFENDANT JOSHUA M. AMBUSH’S MOTION TO DISMISS OR
         IN THE ALTERNATIVE FOR TRANSFER OF VENUE TO THE
    UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY




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Dated: March 19, 2019
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                    IN THE UNITED STATES DISTRICT COURT
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DIANA CAMPUZANO, et al.,

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               v.                              Case No. 19-cv-00421 (RDM)

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                    Defendant.


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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



DIANA CAMPUZANO, et al.,

                       Plaintiffs,

                v.                                      Case No. 19-cv-00421 (RDM)

JOSHUA M. AMBUSH,
Hilton Plaza
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Baltimore, Maryland 21208

                      Defendant.


         DEFENDANT JOSHUA M. AMBUSH’S MOTION TO DISMISS OR
          IN THE ALTERNATIVE FOR TRANSFER OF VENUE TO THE
     UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

       Defendant, Joshua M. Ambush (“Ambush”), respectfully seeks to dismiss the instant

action (the “Action”) or, in the alternative, to transfer venue of the Action from this Court to the

United States District Court for the District of New Jersey, pursuant to Title 28 of the United

States Code, section 1404. The basis for dismissal is that the Action was not filed within the

applicable statute of limitations. The basis for transfer of venue is that the Action is related to

the Chapter 11 bankruptcy proceeding of American Center for Civil Justice, Inc. (“ACCJ”),

which is being heard in the District of New Jersey such that under applicable law transfer is

proper.1




1
  For purposes of LCvR 40.5(a)(3), there is a Related Case: Joshua M. Ambush v. Michael
Engelberg, et al., Case No. 15-cv-1237-EGS (D.D.C.) (“Ambush v. Engelberg”). This case was
stayed due to the bankruptcy filing of ACCJ, and the claims made there against ACCJ are part of
the claim filed by Ambush in the bankruptcy.
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   I.      BACKGROUND

        On September 4, 1997, Diana Campuzano, Avi Elishis, and Gregg Salzman (the

“Plaintiffs”) were injured in a suicide bombing attack carried out by the Hamas terrorist group.

Over the next several years, several attorneys pursued litigation and secured judgments on behalf

of the Plaintiffs for compensatory and punitive damages. Plaintiffs were connected with these

attorneys through ACCJ, which is an organization that would refer attorneys to provide legal

services for victims of terrorism. At some point between approximately December 2000 and

November 2008, Ambush was one of those attorneys.           See Exhibit 1, Docket Report for

Campuzano v. Iran, Case No. 00-cv-2328(RDM).

        A. Timing of the “DC Case”

        On September 29, 2000, John J. McDermott, Esq., filed a complaint on behalf of

Plaintiffs in the United States District Court for the District of Columbia, under the caption of

Diana Campuzano, et al., v. Islamic Republic of Iran, et al. (“Campuzano v. Iran” or the “DC

Case”). See Exhibit 1, Docket Report for Campuzano v. Iran, Case No. 00-cv-2328(RDM), Doc.

1. On September 10, 2003, the Court entered judgment in favor of the Plaintiffs. See Exhibit 1,

Doc. 52. The DC Case was terminated on that date, i.e., September 10, 2003. See id.

        Approximately five (5) years later, after being dormant for more than four (4) years, on

April 30, 2008, Ambush entered his appearance in the DC Case on behalf of the Plaintiffs for the

sole purpose of serving the judgment on the defendants, pursuant to the Motion for Entry of

Final Judgment that had been previously filed by Paul Gaston, Esq. See Exhibit 1, Docs. 54 and

56. However, after Ambush prepared the attendant affidavit of service for that judgment, on July

7, 2008, the Court denied Mr. Gaston’s motion. See Exhibit 1, Minute Order of July 7, 2008.

The court reasoned that the case had not been “before the court” since final judgment was



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entered on September 10, 2003. Plaintiffs’ ongoing collection efforts through Mr. Gaston did

not constitute the case being open. See id. This terminated Ambush’s involvement in the DC

Case. Mr. Gaston continued his ongoing representation of Plaintiffs. That was the extent of

Ambush’s representation of Plaintiffs in the DC Case.

        During the pendency of the DC Case, Ambush never signed any pleading on behalf of the

Plaintiffs.   See Exhibit 1.   He never executed a retainer agreement or entered into a fee

agreement with the Plaintiffs. He simply entered his appearance as a formality, for the sole

purpose of aiding Mr. Gaston, Plaintiffs’ attorney of record, in preparing a final judgment for

service on the defendants.

        On August 1, 2008, Mr. Gaston filed a Notice of Appeal on behalf of Plaintiffs in the DC

Case. See Exhibit 1, Doc. 57. On October 23, 2008, the appeal was voluntarily dismissed, and

the case was dismissed. See Exhibit 1, Doc. 59.

        Several years later, on November 22, 2011, Neal M. Sher, Esq., filed a motion on behalf

of the Plaintiffs to pursue collection of the September 10, 2003 judgment in the DC Case. See

Exhibit 1, Doc. 62. Mr. Sher entered his appearance on the following day. See Exhibit 1, Doc.

63. Ambush played no role in the collection efforts initiated by Mr. Sher. Ambush was not Mr.

Sher’s co-counsel.

        On September 17, 2015, Avi Elishis and Gregg Salzman sent correspondence to Mr.

Sher, ACCJ, and certain principals of ACCJ, formally terminating “all agreements between

myself and any and all of you, as well as any agreements with the [ACCJ]…” Exhibit 2,

Campuzano v. Iran, Docs. 70-1, pg. 1, and 70-2, pg. 1. In those communications, they stated

their reasons for terminating ACCJ and its related parties:

        I have made the decision to part ways with you for many reasons. Foremost
        among them are your refusal to provide me with information about efforts being

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       made to collect my judgment, and your placing other judgment creditors of Iran
       ahead of me without advising me or obtaining my consent. Another reason is that
       you have not had any lawyer serving as my counsel, and have instead hired
       lawyers on a piecework basis and have allowed non-lawyers to make legal
       decisions. Additionally, I was horrified by the submissions to the court made by
       both sides in Eilenberg [sic] v. Perr in Nassau County, as well as the filings in
       Ambush v. Engleberg [sic] in the D.C. District Court, all of which paint a sordid
       tale of greed, self-dealing, conflict of interest, and irresponsibility on your part.
       Lastly it is now 12 years since the judgment was entered, not a penny has been
       collected, and you refuse to inform me where any collection efforts stand or to
       provide me with copies of filings.

Exhibit 2, Campuzano v. Iran, Docs. 70-1, pg. 1-2, and 70-2, pg. 1-2 (underlining added).

       The reasons given by Elishis and Salzman are the same claims that they are now making

in the Complaint, including that ACCJ “…ha[s] not had any lawyer serving as my counsel, and

ha[s] instead hired lawyers on a piecework basis…” Exhibit 2, Campuzano v. Iran, Docs. 70-1,

pg. 2, and 70-2, pg. 2. Those two letters were also attached as exhibits to Mr. Tolchin’s Motion

to Compel Prior Counsel to Turn Over Files (“Motion to Compel”), filed on January 7, 2016, in

the DC Case. See Exhibit 2, Campuzano v. Iran, Doc. 70. Note that Elishis and Salzman were

fully aware of the allegations made by Ambush in the Related Case of Joshua M. Ambush v.

Michael Engelberg, et al., Case No. 15-cv-1237-EGS (D.D.C.) (“Ambush v. Engelberg”).

       Previously, on September 21, 2015, Robert J. Tolchin, Esq., counsel for the Plaintiffs in

this Action, had filed a Notice of Appearance in the DC Case on behalf of Avi Elishis and Gregg

Salzman. See Exhibit 1, Doc. 69. On January 7, 2016, Mr. Tolchin filed the Motion to Compel.

See Exhibit 2, Campuzano v. Iran, Doc. 70. Along with the Motion to Compel, Mr. Tolchin

included an email message from Ambush to Mr. Tolchin, dated September 25, 2015, in which

Ambush advised Mr. Tolchin that he had not taken any action in the case beyond 2008. See

Exhibit 2, Campuzano v. Iran, Doc. 70-6 (“Although I entered my appearance in this case in

2008 I have not taken any action beyond that. (See ECF # 56). I have not made any efforts to



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enforce plaintiffs’ judgments, and I never received nor do I have any of your clients’ files in my

possession.”). Importantly, Mr. Tolchin acknowledged in the Motion to Compel that the nature

of Ambush’s representation of the Plaintiffs was that he had been “employed or retained for a

specific task at some point” by ACCJ. Exhibit 2, Campuzano v. Iran, Doc. 70, at pg. 3-4.

Indeed, in the Motion to Compel, Mr. Tolchin recognized that “Mr. Ambush also emailed to say

he has taken no actions beyond 2008 (Ex. F).” Exhibit 2, Campuzano v. Iran, Doc. 70, at pg. 3.

By the date of Ambush’s email to Mr. Tolchin, September 25, 2015, Mr. Tolchin, Mr. Elishis

and Mr. Salzman already knew the full extent of the participation of Ambush in the DC Case.

By the date Mr. Tolchin filed the Motion to Compel on January 7, 2016, he recognized those

facts before this Honorable Court.

       On June 30, 2016, Mr. Tolchin filed another Notice of Appearance in the DC Case, this

time on behalf of Diana Campuzano. See Exhibit 1, Doc. 86. On April 5, 2017, in response to a

Motion for Order to Show Cause filed by the Plaintiffs in the DC Case, Ambush formalized his

withdrawal from representation of the Plaintiffs by filing a Motion to Withdraw as Attorney. See

Exhibit 1, Docs. 87, 88 and Minute Order of April 5, 2017; and Exhibit 3, Campuzano v. Iran,

Motion to Withdraw as Counsel, Doc. 88, ¶ 3. Plaintiffs wanted to clean up the attorney list with

the Court in order to eliminate potential claims for attorneys’ fees from the proceeds of the

compensation award that had been recovered. See Exhibit 4, Campuzano v. Iran, Motion for

Order to Show Cause, Doc. 87, pg. 3. At the time he filed the Motion to Withdraw, Ambush had

not acted in a representative capacity for the Plaintiffs since 2008. At least since September 25,

2015, Plaintiffs and Mr. Tolchin were fully aware of this.




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       On February 19, 2019, Plaintiffs’ filed the current Action, alleging that Ambush is liable

for legal malpractice based on his representation—through his “employment” with ACCJ—of

them in the DC Case. See Complaint, Doc. 3, ¶ 3.

       B. ACCJ’s Chapter 11 Bankruptcy Case

       On March 23, 2018, ACCJ filed a petition for relief under Chapter 11 of Title 11 of the

United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the

District of New Jersey. See Exhibit 5, In re American Center for Civil Justice, Inc., Case No. 18-

bk-15691(CMG) (Bankr. D.N.J.), Docket Report. ACCJ’s bankruptcy case remains ongoing and

involves all of the parties in this Action, all of whom are creditors of ACCJ. See Exhibit 6, In re

American Center for Civil Justice, Inc., Case No. 18-bk-15691(CMG) (Bankr. D.N.J.), Claims

Register. On April 5, 2018, Ambush filed a Proof of Claim in ACCJ’s case for $31,800,000.00,

based, primarily, in his lawsuit in the Related Case of Ambush v. Engelberg. See Exhibit 7, In re

American Center for Civil Justice, Inc., Case No. 18-bk-15691(CMG) (Bankr. D.N.J.), Claim 2-

1.   Administration and litigation of that claim remains ongoing; the parties are currently

undergoing court-ordered discovery efforts in that regard. See Exhibit 8, ACCJ v. Ambush, Adv.

Pro. No. 18-ap-1273(CMG) (Bankr. D.N.J.), Docket Report, Doc. 12. Importantly, if Plaintiffs

are able to establish that Ambush was acting as their counsel, he was doing so at the request and

direction of ACCJ, who would be liable to Ambush under common law notions of

indemnification. This indemnification claim will serve to increase Ambush’s claim against the

ACCJ bankruptcy estate.2




2
   Ambush has not yet amended his Proof of Claim but has the legal right to do so should this
case not be dismissed in response to this Motion.


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        By way of the instant motion (the “Motion”), Ambush respectfully seeks to dismiss the

Action for failure to file within the statute of limitations or, in the alternative, to transfer venue of

the Action from this Court to the United States District Court for the District of New Jersey.



                                  SUMMARY OF ARGUMENT

        Ambush respectfully submits that this Action should be dismissed, as it was filed outside

the applicable statute of limitations. Ambush’s representation of Plaintiffs began and ended in

2008. Thus, the statute of limitations expired no later than 2011. Even if Plaintiffs contest

whether the representation continued after 2008, clearly the representation terminated no later

than 2015, when Plaintiffs sent the letter of termination to ACCJ and recognized the limited

participation of Ambush in the DC Case. This Action was not filed until February 19, 2019.

Therefore, the Action must be dismissed as untimely.

        In the event that the Court does not dismiss this case as untimely, Ambush respectfully

submits that he be afforded alternative relief, i.e., transfer of venue of the Action to the United

States District Court for the District of New Jersey pursuant to 28 U.S.C. § 1404 because the

District of New Jersey is where ACCJ’s Chapter 11 bankruptcy proceeding is being heard. The

Action concerns issues that are integral to ACCJ’s bankruptcy proceeding. The resolution of the

Action will directly affect the rights of creditors in ACCJ’s bankruptcy. Accordingly, transfer of

venue to the District of New Jersey is necessary to allow for the efficient administration of

ACCJ’s estate and to prevent a waste of judicial resources and potentially conflicting results that

may occur should the Action be advanced in a different venue than the related bankruptcy

proceeding.




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        As set forth in greater detail herein, transfer of venue to the District of New Jersey is

justifiable on the basis of numerous decisions emphasizing the importance of centralizing

disputes with the forum overseeing a related bankruptcy proceeding.

        In addition, the factors considered for determining the “interest of justice” under section

1404(a) do not militate against transfer of venue because significant resources would be saved

given that the parties, witnesses (if any), and counsel would not have to appear and litigate the

same or similar issues and facts before both, this Court and the District of New Jersey.

                                     LEGAL ARGUMENT

   I.      THE ACTION MUST BE DISMISSED BECAUSE IT WAS FILED AFTER
           THE STATUTE OF LIMITATIONS HAD EXPIRED

        A motion to dismiss on statute of limitations grounds is governed by Fed.R.Civ.P.

12(b)(6). See Strong-Fischer v. Peters, 554 F.Supp.2d 19, 21 (D.D.C. 2008). A court should

grant a pre-discovery motion to dismiss on statute of limitations grounds if the complaint is time-

barred on its face. See id. (citing DePippo v. Chertoff, 453 F.Supp.2d 30, 33 (D.D.C. 2006)).

        The Action appears to be a claim for legal malpractice against Ambush. See Complaint,

Doc. 3, ¶¶ 40-48. Regardless of whether New York or District of Columbia law applies, the

statute of limitations for a legal malpractice claim is three years. See NY CPLR § 214(6); D.C.

Code § 12-301(8). The “discovery rule” is used to determine when a cause of action accrues.

See Momenian v. Davidson, 878 F.3d 381, 388 (D.C. Cir. 2017). “Under the discovery rule, ‘a

cause of action accrues when a plaintiff knew or should have known through the exercise of

reasonable diligence of: (1) the existence of the injury, (2) its cause in fact, and (3) some

evidence of wrongdoing.’” Momenian, 878 F.3d at 388 (quoting Jung v. Mundy, Holt & Mance,

P.C., 372 F.3d 429, 433 (D.C. Cir. 2004)). Determining when a plaintiff had or should have had

knowledge of a lawyer’s malpractice entails a factual analysis of the conduct and the

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representations of the lawyer and the reasonableness of the client’s reliance thereon.             See

Diamond v. Davis, 680 A.2d 364, 372 (D.C. 1996) (per curiam). In Momenian, the D.C. Circuit

held that:

        “Inquiry notice extends to ‘that [knowledge] which a plaintiff would have
        possessed after due investigation’ ” as measured by an objective standard of
        reasonable diligence under the circumstances. BDO Seidman, LLP v. Morgan,
        Lewis & Bockius LLP, 89 A.3d 492, 500 (D.C. 2014) (quoting Diamond, 680
        A.2d at 372); Doe, 814 A.2d at 958 (“[T]he standards by which the discovery rule
        is applied are objective.”). “The critical question ... is whether the plaintiff
        exercised reasonable diligence under the circumstances in acting or failing to act
        on whatever information was available to him.” Ray v. Queen, 747 A.2d 1137,
        1141-42 (D.C. 2000). The analysis focuses “on the plaintiff’s diligence in
        discovering the cause of action, rather than the defendant’s misconduct ... given
        the purpose of statutes of limitation to protect defendants from stale claims.” BDO
        Seidman, 89 A.3d at 501 (quotation marks and alteration omitted).

Momenian, 878 F.3d at 388.

        The application of the “discovery rule” to actions for legal malpractice is the same:

        The discovery rule’s objective reasonable-diligence standard applies regardless of
        whether a plaintiff and defendant are in a fiduciary relationship, id. at 376, and an
        attorney-client relationship does not preclude the accrual of a malpractice claim
        under the discovery rule, e.g., BDO Seidman, 89 A.3d at 501. See also Ray, 747
        A.2d at 1141 (“Inquiry notice is the applicable standard even ... in a legal
        malpractice case.”).

Id. at 388-389.

        Here, the complaint in the Action sets forth that Ambush was counsel of record for the

Plaintiffs from 2008 to 2017. As a formality and in response to a motion filed by the Plaintiffs,

Ambush filed a Motion to Withdraw as Counsel on April 5, 2017. See Exhibit 1, Docs. 87, 88

and Minute Order of April 5, 2017; and Exhibit 3, Campuzano v. Iran, Motion to Withdraw as

Counsel, Doc. 88, ¶ 3. It appears to be Plaintiffs’ position that this 2017 Motion to Withdraw is

the determinative date for purposes of the statute of limitations. However, if this Court were to

accept such a position, it would effectively impose a requirement that all attorneys formally



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withdraw from a case after their work is complete and a case is closed to avoid perpetually

tolling the statute of limitations. That is an absurd, impractical result. It is Ambush’s position

that the statute of limitations began to run in 2008 when he ceased any representative actions in

the DC Case. Alternatively, the statute of limitations began to run on September 17, 2015, when

two of the Plaintiffs sent correspondence expressing their desire to sever ties with any attorney

associated with ACCJ. See Exhibit 2, Campuzano v. Iran, Docs. 70-1, pg. 1, and 70-2, pg. 1.

Later, on September 25, 2015, Ambush advised Mr. Tolchin that he had not taken any action in

the case beyond 2008. See Exhibit 2, Campuzano v. Iran, Doc. 70-6. At the latest, the statute of

limitations started to run when Mr. Tolchin filed the Motion to Compel on January 7, 2016. See

Exhibit 2, Campuzano v. Iran, Doc. 70. These documents show that by that date, the Plaintiffs

were already aware of the full extent of Ambush’s participation in the DC Case.

       As explained above, Ambush entered his appearance in the DC Case in 2008 for the sole

purpose of helping serve final judgment upon the defendant in that case. That was the only role

Ambush played in the DC Case whatsoever. Ambush did not have contact with the Plaintiffs as

their counsel in the DC Case after that time, he never signed any pleadings, and he never signed

a retainer agreement with the Plaintiffs. Helping prepare the final judgment for service was the

first and last representative act Ambush took in the DC Case. Following this, Mr. Sher entered

his appearance and continued representing the Plaintiffs until Mr. Tolchin took over in 2015.

Thus, Ambush’s representation of Plaintiffs ceased in 2008, and the three-year statute of

limitations expired in 2011.

       Assuming, arguendo, that the Court is not convinced that the Plaintiffs had the requisite

knowledge of any alleged wrongdoing in 2008, it is certain that the Plaintiffs had that knowledge

no later than September 17, 2015, when Avi Elishis and Gregg Salzman sent correspondence to



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Mr. Sher, ACCJ, and its representatives expressing their desire to sever ties.             In that

correspondence, they expressed their reasons for terminating their relationship with ACCJ and its

related parties. Exhibit 2, Campuzano v. Iran, Docs. 70-1, pg. 1-2, and 70-2, pg. 1-2. The

claims they made against ACCJ in those letters are the same claims that they are now making

against Ambush in the Complaint. Thus, alternatively, the statute of limitations would have

begun to run no later than September 17, 2015 and expired on September 17, 2018. That would

make the filing of this Action more than five (5) months late.

       Plaintiffs might assert that Diana Campuzano cannot be charged with the same

“knowledge” as Avi Elishis and Gregg Salzman, because Ms. Campuzano did not send

correspondence indicating her intent to terminate an attorney-client relationship with the ACCJ-

associated attorneys.   However, the “discovery rule” provides that a cause of action for

malpractice accrues when the plaintiff has knowledge of or “should have known through the

exercise of reasonable diligence” of the injury at issue, its cause in fact, and some evidence of

wrongdoing. See Momenian, 878 F.3d at 388 (emphasis added). Although Diana Campuzano

did not send correspondence of her own, Avi Elishis and Gregg Salzman were her co-plaintiffs in

the DC Case. All three parties were represented by Mr. Sher, and later by Mr. Tolchin, who is

the attorney who represents all of them in this Action. If Avi Elishis and Gregg Salzman were

able to acquire knowledge of alleged legal malpractice conduct, Diana Campuzano should also

have been able to do so by that date through an exercise of reasonable diligence. Indeed, her co-

plaintiffs and her counsel Mr. Tolchin, who was and still is counsel for all of them, could have

supplied that information.3



3
 Also, from Mr. Tolchin’s own words in his Motion to Compel, it seems that Diana
Campuzano’s relationship with ACCJ was even closer than the relationship that the other


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         Moreover, the Plaintiffs have previously acknowledged Ambush’s limited role in the DC

Case. In the Motion to Compel, Plaintiffs acknowledge Ambush’s position that he had not acted

in a representative capacity on their behalf since 2008, as well as his position that he had entered

the case to complete an isolated task in the case rather than to act in an ongoing representative

capacity. As a matter of fact, the Plaintiffs have known all the details since, at least, 2015.

         It is Ambush’s position that the statute of limitations expired as to this Action in 2011:

three years after Ambush ceased active representation of the Plaintiffs in the DC Case.

Nonetheless, even assuming that is not the case, the Plaintiffs had—or should have had—

knowledge of any conduct giving rise to potential liability no later than September 17, 2015.

Thus, pursuant to the discovery rule, the Plaintiffs had until September 17, 2018, at the latest, to

file the Action. Plaintiffs failed to file the Action until February 19, 2019, more than five (5)

months after the statute of limitations had expired. Therefore, Ambush respectfully requests that

this Action be dismissed.

   II.      TRANSFER OF VENUE TO THE DISTRICT OF NEW JERSEY IS
            WARRANTED

         If this Court is not inclined to dismiss this Action for failure to comply with the statute of

limitations, the Court should alternatively transfer venue of the Action to the District of New



Plaintiffs Elishis and Salzman had. This is what Mr. Tolchin stated as to Plaintiff Campuzano at
the time:

         Frankly, the entire arrangement stinks of unlawful practice of law, champerty, and
         conflict of interest—the last since for some reason the Perr and Engleberg have been
         giving money to the third plaintiff, Campuzano, and have apparently included her in at
         least one enforcement proceeding in which he did not include Messrs. Elishis and
         Salzman.

See Exhibit 2, Campuzano v. Iran, Doc. 70, pg. 4. Campuzano was in a position to inquire about
the proceedings in the DC Case directly from ACCJ.


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Jersey so that it can be administered in the same venue as ACCJ’s bankruptcy proceeding.

Though venue may be proper in this Court, venue is more appropriate in the District of New

Jersey, as the issues involved in this Action are interwoven with the issues in ACCJ’s bankruptcy

proceeding, which is ongoing in the District of New Jersey. Thus, transfer of venue to that court

is warranted pursuant to 28 U.S.C. § 1404(a).

       A. Governing Standards

       Title 28 of the United States Code, Section 1404 provides, in pertinent part, that “[f]or the

convenience of parties and witnesses, in the interest of justice, a district court may transfer any

civil action to any other district or division where it might have been brought.” 28 U.S.C. §

1404(a).

       The United States District Court for the District of Columbia has held that “Section

1404(a) affords the Court broad discretion in determining whether transfer from one jurisdiction

to another is appropriate.” M.M.M. on behalf of J.M.A. v. Sessions, 319 F.Supp.3d 290, 294

(D.D.C. 2018) (internal citations omitted). The transferring court uses its broad discretion to

balance case-specific factors, including those “related to the public interest of justice and the

private interests of the parties and witnesses.”      Federal Housing Finance Agency v. First

Tennessee Bank Nat. Ass’n, 856 F.Supp.2d 186, 190 (D.D.C. 2012) (internal citations omitted).

The public interest factors include:

                     i. the local interest in making local decisions regarding local controversies;

                     ii. the relative congestion of the transferee and transferor courts; and

                    iii. the potential transferee court’s familiarity with the governing law.

Id. at 193 (citing Bederson v. United States, 756 F.Supp.2d 38, 46 (D.D.C. 2010)). Further, the

transferring court must consider the “‘compelling public interest in avoiding duplicative



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proceedings … and potentially inconsistent judgments.’” Id. (quoting Reiffin v. Microsoft Corp.,

104 F.Supp.2d 48, 58 (D.D.C. 2000)).

       The private interest factors include:

                      i. the plaintiff’s choice of forum;

                     ii. the defendant’s choice of forum;

                     iii. where the claim arose;

                     iv. the convenience of the parties;

                     v. the convenience of witnesses; and

                     vi. the ease of access to the sources of proof.

Id. at 192 (citing Bederson, 756 F.Supp.2d at 46). There does not appear to be a strict formula

for the application of these factors, and no single factor appears to be determinative; rather, each

factor is balanced on a case-by-case basis. See, e.g., id. at 192-95.

       Matters pertaining to bankruptcy proceedings in another district, however, may involve

unique considerations because, “[a] principal purpose served by the Bankruptcy Code is the

centralization of all disputes concerning the property of a debtor’s estate so that reorganization

can proceed efficiently, unimpeded by uncoordinated proceedings in other arenas.” Reifler v.

Glaser, Weil, Fink, Jacobs, Howard & Shapiro, LLP, 435 B.R. 118, 120-21 (S.D.N.Y. 2010)

(wherein court referred matter to Bankruptcy Court pursuant to Title 28, section 157(a)) (internal

citations omitted). “…the obligation of a bankrupt entity to indemnify a third party need not be

“definite” for a bankruptcy court to exercise jurisdiction. Indeed, a case may be referred to the

bankruptcy court so long as there is a “reasonable legal basis” for the claim.” Id at pg. 121

(internal citations omitted).




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       Courts from several surrounding districts have recognized the importance of achieving

judicial economy through having disputes resolved in the same forum that is already

administering an associated bankruptcy proceeding. In determining motions to transfer where

bankruptcy proceedings are pending, courts have discretion in applying the principles of transfer

of venue so as to preserve judicial resources. Publicker Indus. Inc. v. U.S. (In re Cuyahoga

Equipment Corp.), 980 F.2d 110 (2d Cir. 1992). In Publicker Indus. Inc., the court considered a

motion to transfer venue away from the District Court in which a debtor’s bankruptcy proceeding

was being heard. See id. In holding that public policy favored centralizing administration of

claims, the Publicker court cited the United States Supreme Court, and stated, “The policy of

conserving scarce judicial resources militates in favor of a versatile solution to this sort of legal

problem, leaving latitude to the district courts for the exercise of their informed discretion.”

Publicker Indus. Inc., 980 F.2d at 116 (citing Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co., 342

U.S. 180, 183-84 (1952)).       The court observed that the claims at issue—bankruptcy and

environmental claims—were both related and remained before the District Court, and thus,

“keeping the entire action in New York was consonant with the policy of consolidation.” Id.

       Similarly, in Gulf States Exploration Co. v. Manville Forest Products Corp. (In re

Manville Forest Products Corp.), 896 F.2d 1384 (2d Cir. 1990), in considering whether the

transfer venue pursuant to 28 U.S.C. § 1412, the United States Court of Appeals for the Second

Circuit held that the District Court in which a debtor’s bankruptcy proceeding was being heard

was the appropriate forum for the resolution of an adversary proceeding notwithstanding that the

convenience of parties and witnesses weighed in favor of transfer. The court found that the

matter for which change of venue was sought, an adversary proceeding involving the

determination of a proof of claim relating to an alleged prepetition breach of contract claim, was



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“clearly at the core of the federal bankruptcy function of restructuring debtor-creditor rights,

implicating the unique powers of bankruptcy courts.” Id. at 1390. Therefore, the court stated

that “[t]he ‘interest of justice’ component of § 1412 is a broad and flexible standard which must

be applied on a case-by-case basis. It contemplates a consideration of whether transferring

venue would promote the efficient administration of the bankruptcy estate, judicial economy,

timeliness, and fairness-factors…”4 Id. at 1391.

       As stated by the Eastern District of Pennsylvania in granting a motion to transfer venue to

the Southern District of New York:

               Here, we find the overwhelmingly significant factor, outweighing
               all others, is the judicial economy to be achieved in having the
               entire controversy decided in one forum, in this case the
               bankruptcy court which is already administering the WorldCom
               bankruptcy. If we ruled otherwise, it is inevitable that proceedings
               will be delayed and to some extent duplicated for a tremendous
               waste of time and money for all concerned.

Shared Network Users Group, Inc. v. WorldCom Technologies, Inc., 309 B.R. 446, 452 (E.D. Pa.

2004); see also Larami Ltd. v. Yes! Entertainment Corp., 244 B.R. 56, 61-62 (D.N.J. 2000)

(holding that transfer of venue to Delaware bankruptcy court was warranted and finding that

“[b]ecause the resolution of the patent infringement suit is integral to the proposed merger and

Chapter 11 plan, the Court finds that judicial economy would be served by transferring this

patent suit to the Bankruptcy Court”).

       Several decisions from other courts concerning motions to transfer venue reflect these

principles. See Al’s Family Automotive v. Bennett, 2012 WL 246226, *2 (E.D. Pa. Jan. 25, 2012)

4
  Although the instant Motion is not brought under section 1412, Ambush respectfully submits
that these principles should be deemed relevant to the “interest of justice” formulation under
section 1404 for purposes of the relief sought by Ambush. “…much of the essential wording of
§ 1412 is similar to § 1404(a)…” Shared Network Users Group, Inc. v. WorldCom
Technologies, Inc., 309 B.R. 446, 452 (E.D. Pa. 2004).


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(granting motion to transfer venue and stating that “[b]ecause the counterclaim is related to

Bennett’s bankruptcy, it would be judicially efficient and economical to have the counterclaim

and the bankruptcy proceeding decided by the same court”); U.S. Vision, Inc. v. AS IP Holdings,

Inc., 2012 WL 243358, *6 (D.N.J. Jan. 25, 2012) (granting motion to transfer venue to district

where bankruptcy proceeding was ongoing and finding that “considerations of fairness and

convenience as well as the interest of justice weigh in favor of such transfer”); Washington State

Bank v. Turnage, 2011 WL 1561440, *6 (W.D. La. Apr. 25, 2011) (granting motion to transfer

venue and stating that “judicial economy will be achieved in having the entire controversy

decided in one forum – the bankruptcy court which is already administering O & G's

bankruptcy”); Xtreme Industries, LLC v. Gulf Copper & Mfg. Corp., 2010 WL 4962967 (S.D.

Tex. Dec. 1, 2010) (transferring contract dispute to district where bankruptcy proceedings were

pending); McGillis/Eckman Investments-Billings, LLC v. Sportsman's Warehouse, Inc., 2010 WL

3123266, *7 (D. Mont. Jun. 30, 2010) (granting motion to transfer venue and stating that

“judicial efficiency will be served by administering all claims against the bankruptcy estate in

one forum, and the bankruptcy case remains pending in Delaware”).

       B. Both the Section 1404(a) Interest of Justice Factors and the Principles and
          Policies of Centralizing Disputes Weigh in Favor of Transferring the Action to
          the Venue of ACCJ’s Bankruptcy Proceeding.

       For multiple reasons, the issues arising under this Action are inextricably intertwined

with ACCJ’s bankruptcy proceeding, such that this Action should not remain in this venue.

First, all parties to this Action are creditors of ACCJ and are actively involved in that case. More

importantly, just like the Gulf States Exploration case, the resolution of this Action will directly

affect the value of Ambush’s Proof of Claim in ACCJ’s case. When Ambush represented the

Plaintiffs in the DC Case in 2008, he did it at the request of ACCJ. Thus, if this Action survives



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dismissal, Ambush may pursue additional claims against ACCJ based on that relationship.

While this might normally be accomplished by impleader, Ambush cannot file suit against ACCJ

by virtue of the automatic stay entered when ACCJ filed its Chapter 11 proceeding. See 11

U.S.C. § 362. Instead, Ambush will need to pursue any third-party claims against ACCJ by

seeking indemnification or reimbursement, thereby increasing his claim in ACCJ’s bankruptcy

proceeding.

       The Action plainly concerns a claim against ACCJ, a matter which is inherently

fundamental to the Chapter 11 proceeding pending in the District of New Jersey. The Action

also constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(B) because it directly

affects, among other things, “the allowance or disallowance of claims against the estate or

exemption from property of the estate, and estimation of claims or interests for the purposes of

confirming a plan.” Put differently, resolution of this Action directly affects the determination of

Ambush’s proof of claim filed in ACCJ’s bankruptcy proceeding. Accordingly, the Action

should be transferred to the District of New Jersey so that it may be heard by the same forum that

is administering ACCJ’s bankruptcy estate and its assets.

       Given that the Action is integral to the bankruptcy proceeding, if the Action were to be

heard by this Court separate and apart from the bankruptcy proceeding in the District of New

Jersey, both courts would essentially be seeking to resolve the exact same issues pertaining to the

Plaintiffs’ claims against Ambush and ACCJ, as well as ACCJ’s assets.               Scarce judicial

resources would be wasted, delays would likely ensue, and potentially conflicting findings and

rulings could arise. It is irrefutable that it would be most judicially efficient and economical to

have the same venue both hear the Action and administer the bankruptcy proceeding; to contend




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otherwise would ignore the litany of case law favoring the centralization of disputes in the forum

that is overseeing bankruptcy proceedings.

       In addition, if the Action were to remain pending before this Court, not only would the

principle of centralizing disputes be violated—which, again, has been described as a “principal

purpose served by the Bankruptcy Code,” see Reifler, 435 B.R. at 120-21—but Plaintiffs would

also potentially be frustrating the Bankruptcy Code’s policies relating to the orderly

administration of estate assets. That is, Plaintiffs would essentially be seeking to adjudicate their

claim against ACCJ ahead of its other creditors. Plaintiffs should not be permitted to interfere

with the orderly administration of ACCJ’s estate assets by pursuing their claims in a separate

action in an entirely separate venue at an entirely separate pace from ACCJ’s bankruptcy

proceeding.

       Furthermore, the factors set forth for determining “interest of justice” under section

1404(a) do not militate against transferring venue.         The location of ACCJ’s bankruptcy

proceeding, the Mercer vicinage of the District of New Jersey, is where all the parties to this

Action have been pursuing their claims as creditors of ACCJ since that case was filed.

Therefore, it cannot be genuinely disputed that this difference will have a materially negative

impact on either the convenience of witnesses, the convenience of parties, the locus of operative

facts, etc. There is no indication that either the parties or their respective counsel would be

unduly burdened by litigating the Action in the District of New Jersey.            To the contrary,

significant resources would almost certainly be saved given that the parties, witnesses (if any)

and counsel would not have to appear and litigate the same issues and facts before two tribunals:

this Court and the District of New Jersey.




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           For these reasons, the forum where ACCJ’s bankruptcy case is proceeding, the District of

New Jersey, is the appropriate forum for resolution of this Action. Accordingly, a change of

venue is warranted.

                                           CONCLUSION

           Based upon the foregoing, Ambush respectfully requests that the Court grant the Motion,

dismissing the Action with prejudice or, in the alternative, transferring the Action to the United

States District Court for the District of New Jersey.

Respectfully submitted,

In San Juan, Puerto Rico, on March 19th, 2019.

                                   CERTIFICATE OF SERVICE

        I hereby certify that on this date I electronically filed this document using the CM/ECF
system, which will send a notification of the filing and a copy of this document to all counsel of
record.


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